_________________________________________________________________________________

                                                    SO ORDERED,



                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                   UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI

In re: Arthadius La-Earl Dudley                                                  CHAPTER 13
        Debtor                                                          CASE NO. 18-11634-JDW

                  AGREED ORDER ON OBJECTION TO PLAN [Dkt #15]

          CAME BEFORE THIS COURT on Objection of VW Credit, Inc. (“Objector”), to
Debtor’s Chapter 13 Plan, and the Court being fully advised in the premises and based upon the
agreement of the parties, does hereby find and order as follows:
          1.    Objector holds a claim against Debtor, which is secured by a 2017 Volkswagen
Passat, VIN: 1VWDT7A31HC063562 (“Property”) in which Debtor possesses an interest as
evidenced by a written lease (“Lease”). Objector is the lessor under the Lease, and Debtor is the
lessee.
          2.    Debtor’s proposed Chapter 13 Plan elects to assume the Lease.
          3.    The parties have agreed to reject Objector’s Lease.
          3.    The parties have agreed to amend the proposed Chapter 13 Plan to reject the
Lease, and surrender possession of the Property to Objector.
          IT IS THEREFORE ORDERED AND ADJUDGED that Debtor hereby rejects the
Lease with Objector.
          IT IS FURTHER ORDERED AND ADJUDGED that any figures requiring adjustment
as a result of this amendment shall be adjusted accordingly.
                                  * * * END OF ORDER * * *
Agreed and Approved by:


/s/ Charles Frank Fair Barbour
Charles Frank Fair Barbour
Attorney for Objector


/s/ Robert H. Lomenick, Jr. (w/permission CB)
Robert H. Lomenick, Jr.
Attorney for Debtor


/s/ Jeff Collier for (w/permission CB)
Locke D. Barkley
Bankruptcy Trustee


Submitted by:
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